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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(NORTHERN DIVISION)

DENISE A. WINER AND JONATHAN
WINER,
Plaintiffs, CIVIL CASE NO: RDB-lZ-CV-O354l
v.
LABORATORY CORPORATION OF

AMERICA,
REMOVED FROM THE CIRCUIT

Defendant. COURT FOR BALTIMORE CITY
` Case No.: 24-C-12~006246 O'l`

 

 

STIPULATION OF DISMISSAL WITH PREJUDICE

 

Pursuant to Rule 4l(a)(l)(A)(ii), Plaintiffs Denise and Jonathan Winer, by and through
their counsel of record, DISMISS WITH PREJUDICE all claims against Defendant Laboratory
Corporation of America that were, or could have been, raised in the above-styled lawsuit. The
parties shall each bear their own costs, expenses, and attorneys’ fees.

[signatures on following page]

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Respectfully Submittedthis § day of

/v/:z%/

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CERTIFICATE OF SERVICE
The undersigned certifies that the above STIPULATION OF DISMISSAL WITH
PREJUDICE was electronically filed with the Clerk of Court using the CM/ECF system, which

automatically serves notification of such filing to the following counsel of record:

Counse.~' for Plainti[`[s

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Howard Janet
Jason B. Penn

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Julie Galbo-Moyes
Lillian N. Caudle
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This lt day of 2014

/s/ V
An Attorney for Plaintr'fj€v

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